Case 1:15-cr-00020-IMK-MJA Document 63 Filed 04/22/15 Page 1 of 4 PageID #: 132



                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                  Plaintiff,

 v.                                             CRIMINAL NO. 1:15CR20-1
                                                (Judge Keeley)

 BRITTANY THOMPSON,

            Defendant.

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
          OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
       GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

       On April 8, 2015, defendant, Brittany Thompson (“Thompson”),

 appeared before United States Magistrate Judge John S. Kaull and

 moved for permission to enter a plea of GUILTY to Count Three of

 the Indictment. Thompson stated that she understood that the

 magistrate judge is not a United States District Judge, and

 consented to pleading before the magistrate judge.          This Court had

 referred the guilty plea to the magistrate judge for the purposes

 of   administering   the   allocution    pursuant   to   Federal   Rule   of

 Criminal Procedure 11, making a finding as to whether the plea was

 knowingly and voluntarily entered, and recommending to this Court

 whether the plea should be accepted.

       Based upon Thompson’s statements during the plea hearing and

 the government’s proffer establishing that an independent factual

 basis for the plea existed, the magistrate judge found that

 Thompson was competent to enter a plea, that the plea was freely
Case 1:15-cr-00020-IMK-MJA Document 63 Filed 04/22/15 Page 2 of 4 PageID #: 133



 USA v. BRITTANY THOMPSON                                         1:15CR20-1

          ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
         OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
     GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

 and voluntarily given, that she was aware of the nature of the

 charges against her and the consequences of her plea, and that a

 factual basis existed for the tendered plea. On April 8, 2015, the

 magistrate judge entered an Opinion/Report and Recommendation

 Concerning Plea of Guilty in Felony Case (“R&R”) (dkt. no. 54)

 finding a factual basis for the plea and recommended that this

 Court accept Thompson’s plea of guilty to Count Three of the

 Indictment.

      The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. The magistrate judge further directed that

 failure to file objections would result in a waiver of the right to

 appeal from a judgment of this Court based on the R&R. On April 10,

 2015, the government, by Assistant United States Attorney Shawn A.

 Morgan (“Morgan”), responded to the R&R stating the government had

 no objection (dkt. no. 57). After which, the defendant did not file

 any objections.

      Accordingly, this Court ADOPTS the magistrate judge’s R&R,

 ACCEPTS Thompson’s guilty plea, and ADJUGES her GUILTY of the crime

 charged in Count Three of the Indictment.



                                      2
Case 1:15-cr-00020-IMK-MJA Document 63 Filed 04/22/15 Page 3 of 4 PageID #: 134



 USA v. BRITTANY THOMPSON                                         1:15CR20-1

          ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
         OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
     GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

      Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until it

 has received and reviewed the presentence report prepared in this

 matter.

      Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

 follows:

      1.    The    Probation      Officer    undertake      a   presentence

 investigation of BRITTANY THOMPSON, and prepare a presentence

 report for the Court;

      2.    The Government and Thompson are to provide their versions

 of the offense to the probation officer by May 6, 2015;

      3.    The presentence report is to be disclosed to Thompson,

 defense counsel, and the United States on or before June 22, 2015;

 however, the Probation Officer is not to disclose the sentencing

 recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

      4.    Counsel may file written objections to the presentence

 report on or before July 6, 2015;

      5.    The Office of Probation shall submit the presentence

 report with addendum to the Court on or before July 20, 2015; and




                                      3
Case 1:15-cr-00020-IMK-MJA Document 63 Filed 04/22/15 Page 4 of 4 PageID #: 135



 USA v. BRITTANY THOMPSON                                                  1:15CR20-1

          ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
         OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
     GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

      6.     Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the

 factual    basis    from    the    statements     or    motions,     on   or   before

 August 3, 2015.

      The magistrate judge remanded Thompson to the custody of the

 United States Marshal Service.

      The    Court    will     conduct      the   sentencing    hearing      for     the

 defendant    on    Tuesday,       August   11,   2015    at   1:30   P.M.      at   the

 Clarksburg, West Virginia point of holding court.

      It is so ORDERED.

      The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED: April 22, 2015


                                         /s/ Irene M. Keeley
                                         IRENE M. KEELEY
                                         UNITED STATES DISTRICT JUDGE




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